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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER

On February 23, 2021, defendant Jacob Anthony Chansley moved for pre-trial release.
ECF No. 12. Defendant further notified the Court that he plans to raise this motion at the status
conference set in this matter for Friday, March 5, 2021 at 10:00 A.M. ECF No. 13. The Court
hereby directs the government to respond to defendant’s motion by Monday, March 1, 2021. Any
reply shall be filed by Thursday, March 4, 2021 at 2:00 P.M. The Court will hold a hearing on
defendant’s motion for pre-trial release at the status conference on Friday, March 5, 2021 at 10:00
A.M.

Itis SO ORDERED. -

Date: February Z ¥, 2021 Oc. Wel

Hon. Royce C. Lamberth
United States District Judge
